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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                                               )
DANIKA HARTWELL,                               )
 Individually and on behalf of a class         )       C,A. NO. 1:18-cv-l 1895-DJC
 of persons similarly situated,                )
                                               )
        Plaintiff,                             )
                                               )
V-                                             )
                                               )
AMERICREDIT FINANCIAL SERVICES,)
INC. d/b/a GM FINANCIAL,       )
                                               )
        Defendant.                             )
                                               )

              pnOPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF
                                CLASS ACTION SETTLEMENT

        This matter came before the Courton Plaintiff Danika Hartwell's Motion for Preliminary

Approval of Class Action Settlement with Defendant AmeriCredit Financial Services, Inc. d/b/a

GM Financial (the "Motion"). Having reviewed the Motion and documents submitted in support

of the Motion, including the Class Action Settlement Agreement dated April 12, 2019, and

exhibitsthereto (collectively the "Settlement Agreement"), and having reviewed the record in the

above-captioned matter,

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

        1.      The Settlement Agreement is hereby incorporated by reference in this Order as if

fully set forth herein. Capitalized terms in this Order shall, unless otherwise defined herein, have

the meanings ascribed to them in the Settlement Agreement.

        2.      Pursuant to Fed. R. Civ. P. 23, the terms of the SettlementAgreement, attached to

the Motion as Exhibit 1, and the Settlement provided for therein, are preliminarily approved as

(a) fair, reasonable, and adequate in light of the relevant factual, legal, practical and procedural

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considerations ofthe Lawsuit, (b) free ofcollusion to the detriment ofClass Members, and (c)
within therange of possible final judicial approval, subject to further consideration thereof at the

Final Approval Hearing. Accordingly, theSettlement Agreement and theSettlement are

sufficient to warrant notice thereof, as set forth below, and a full hearing on the Settlement.
         3.      For purposes of the Settlement, this Court hereby provisionally approves the
following settlement class ("Settlement Class"):

              a. Allaccounts subject to a RISC with respect to which defendant AmeriCredit
                 Financial Services, Inc. d/b/a GM Financial ("GMF") sent a notice identical
                 and/or substantially similar to the Representative's Statutory Notice attached as
                 Exhibit Ato the Amended Complaint [Dkt. 16], at any time during the Class
                 Period, excluding: (i) any account that includes within the applicable RISC, a
                 provision requiring either party to submit to binding non-class arbitration, (ii) any
                 account an obligor of which received a discharge in Bankruptcy after the date he
                 orshe received such a notice, and (iii) any account where GMF has previously
                 obtained a binding release from all obligors orobtained aJudgment against all
                 obligors.

         4.      For purposes ofthe Settlement, this Court also hereby provisionally approves the
following subclass of the Settlement Class ("Sale Subclass"):

              a. All accounts within the Settlement Class where GMF repossessed oraccepted
                 voluntary surrender of thesubject vehicle and then sold, leased, licensed or
                 otherwise disposed ofit without sending a presale notice that included the phrase
                 "fair market value" prior to such sale orother disposition.
        5.       For settlement purposes only, and after considering the relevant factors in Fed. R.
Civ. P. 23 and subject to further consideration at the Final Approval Hearing, Plaintiff is
conditionally designated as the Class Representative, and Class Counsel isconditionally
appointed as counsel for the Settlement Class and Sale Subclass. The law firm and attorney
conditionally representing the Settlement Class and Sale Subclass is:

                 Nicholas F. Ortiz
                 Law Office ofNicholas F. Ortiz, P.C.
                 99 High Street, Suite 304
                 Boston, Massachusetts 02110


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         6.    Pursuant to the terms ofthe Settlement Agreement, no later than ten (10) business
days after the date of this Order, GMF shall provide to Class Counsel and the Settlement

Administrator designated by Class Counsel with the Class List. Within ten (10) days of receiving
the Class List, and pursuant to the procedures detailed in the Settlement Agreement, under the
direction ofClass Counsel, the Settlement Administrator shall mail the Notice, attached to the
Settlement Agreement as Exhibit B.by first class U.S. mail toall individuals listed on tlie Class
List. Before sending the Class Notice, Class Counsel shall fill-in all applicable dates and
deadlines in the Class Notice to conform with the dates and deadlines specified for such events in
this Order. Class Counsel shall also have discretion to format the Class Notice in a reasonable
manner before mailing to minimize mailing or administration costs.

         7.    Ifany Class Notice mailed pursuant to the Settlement Agreement is returned by
the United States Postal Service for lack ofa current correct address, the Settlement
Administrator shall seek an address correction via asocial security number search through the
Accurint (or similar) database for those individuals, and their checks will be re-sent to any
subsequently obtained addresses. The Settlement Administrator shall have no further obligation
to locate Settlement Class Members.

        8.     The Court finds that the Settlement Agreement's plan for class notice is the best

notice practicable under the circumstances and satisfies the requirements ofdue process and Fed.
R. Civ. P. 23. The class notice plan set forth in the Settlement Agreement is approved and
accepted. This Court further finds that theClass Notice complies with Fed. R. Civ. P. 23 and is

appropriate as part ofthe notice plan and the Settlement, and thus it is hereby approved and
adopted. This Court further finds that no other notice other than that identified in the Settlement

Agreement is reasonably necessary in the Lawsuit.



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        9.     Any Class Member who wishes to be excluded from the Settlement Class and not

be bound by the Settlement Agreement must complete and mall a request for exclusion ("Opt-
Out") tothe Settlement Administrator atthe address set forth in the Class Notice, postmarked no
later than thirty (30) days from the last projected date for the initial mailing of Class Notice. For
a Class Member's Opt-Out to bevalid and treated as a Successful Opt-Out, it must include the
(a) full name, address, telephone number, and signature of theClass Member; and (b) state the

Class Member's desire to opt out ofthe Settlement. If there ismore than one obligor on a loan
account subject to this Settlement, each obligor onthat account must sign the Opt-OuL No
person shall purport to exercise any exclusion rights ofany other person, and in no event shall

members ofthe Settlement Class who purport to opt out ofthe Settlement as a group, aggregate,
collective or class involvingmore than one SettlementClass Memberbe considered a successful

or valid opt-out; any such purported opt-out shall be void. Any Settlement Class Member who

fails to timely and validly opt out of the Settlement Class under this Settlement Agreement shall
be bound by the terms ofthis Settlement. Further, any Class Member who is a Successful Opt-
Out will bedeemed to have waived any rights or benefits under theSettlement, and will not have

standing to object to the Settlement.

         10.   At least ten(10) days prior to the Final Approval Hearing, the Settlement
Administrator shall prepare a list ofthe persons who have complied with the requirements for
exclusion from a Settlement Class and shall serve such listupon Class Counsel and GMF's
Counsel, and Class Counsel shall file such document with the Court at least five (5) days prior to
the Final Approval Hearing and serve it upon GMF's Counsel at thesame time.

        11.    Any Class Member who is not a Successful Opt-Out and who wishes to object to
or comment on any aspect of the proposed Settlement, in whole or in part, must mail a timely



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written statement of objection to the Settlement Administrator no laterthan the Objections

Deadline. To be considered valid, eachObjection must be timely (asjudged by the filing

deadline setforth above), and must state: the case name and number; the basis for and an

explanation of theobjection; and the name, address, and telephone number of the Settlement

Class Member making the objection, Inaddition, any objection must be personally signed bythe

Settlement Class Member and, if represented by counsel, then by counsel. Objections that arc

untimely and/or otherwise invalid maynot be considered by this Court unless the Court orders

otherwise.


         12.   A hearing (the"Final Approval Hearing") shall be held before the undersigned at

  I1.C)^^^/p.m. on Sje?^.2019, atthe United States DistrictCourtfor the Districtof
Massachusetts at 1Courthouse Way, Boston, MA 02210, to determine, among other things, (a)

whether the proposed Settlement should be finally approved as fair, reasonable and adequate, (b)

whether the Lawsuit should be dismissed with prejudice pursuant to the terms of the Settlement

Agreement, (c) whether Class Members should be bound by the Release set forth in the

Settlement Agreement, (d) whether Class Members should be subject to a permanent injunction

that, among other things, bars Class Members from filing, commencing, prosecuting, intervening

in, or participating in (as class members orotherwise) any lawsuit, claim, demand or proceeding
in any jurisdiction that is based on or related to, directly or indirectly, matters within the scope of

the Release, (e) whetherthe Settlement Class should be finally certified, (f) the amount of

attorneys' fees and costs to be awarded to Class Counsel, if any, and (g) the amounts to be

awarded to Plaintiff for her service as Class Representative. This hearing may be postponed,

adjourned, or continued by order of the Court without further written notice to the Settlement

Class.




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         13.   All other events contemplated by the Settlement Agreement to occur after this

Orderand before the Final Approval Hearing, and all aspects of settlement administration during

that time, and all matters related to Court consideration of theSettlement, shall be governed by

the Settlement Agreement, to the extent not inconsistent herewith.

         14.   All proceedings in the Lawsuit, otherthan such as may be necessary to carry out

the terms and conditions of the Settlement Agreement or the responsibilities related or incidental

thereto, are stayed and .suspended until further order of this Court.

         )5.   Neither the Settlement nor the Settlement Agreement constitutes an admission,

concession, or indication by the Parties of the validity of any claims or defenses in the Lawsuitor

of any wrongdoing, liability, or violation of law by GMF, who vigorously denies all of the

claims and allegations raised in the Lawsuit.

         16.   At orafter tlie Final Approval Hearing, the Court may approve the Settlement
with such modifications, if any, as may be agreed to by Class Counsel and Counsel for GMF and

without future notice to Class Members.




        IT IS SO ORDERED, on this, thej^day of 1^                           ,2019.

                                                   HONORABLE DENIjBE J.
                                                                      CASPER
                                                  UNITED STATES D STRICT COURT JUDGE




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                                      Exhibit B
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              United States District Court for The District of Massachusetts
           You appear in the records of AmeriCredlt Financial Services, Inc. d/b/a
    GM Financial ("Defendant") as having had your motor vehicle repossessed by
    Defendant between July 19,2014 and July 31,2018 and received a
    repossession notice that is a subject of this case. If this Settlement is approved
    by the Court, you will receive a check and/or a statement credit.
                            ThisNotice Is Not A Solicitation From A Lawyer.
       •   Defendant's records identify you as a member ofthe Settlement Class in a class-action
           lawsuit that was filed by Danika Hartwell (the "Plaintiff' or"Named Plaintiff') against
           Defendant.
       •   The proposed settlement requires Defendant to provide Settlement Class Members with a
           check and/or statement credit in an amount to be determined below.

                                                                                       ilV' ...r • •                      :.


                                                                                                       . J   •«'- '   ,
                           If you do nothing you will remain eligible to participate
                           in the Settlement, and obtain benefits. You will be
                           bound by the Court's FinalJudgment and the releaseof
                           claimsexplained in the Settlement Agreement.
•
                           If you exclude yourself firom the Settlement, you will    Deadline:
                           not receive anybenefits ft-ora the Settlement. Excluding [Month Day,
                           yourself is the only option tliat allows you to everbring Year!
                           or maintain your own lawsuit against &e Defendant
                           regarding the allegations in the Lawsuit.
                           You may write to the Court aboutwhy you object to             Deadline;
                           the Settlement and think it shouldn't be approved.            [Month Day,
                           Filingan objection does not exclude you from the              Yearl
                           Settlement. You may also attend the Final Approval
                           Hearing andobject to the settlement without sending
                           any written objection.

       • These riglits and options - and the deadlines to exercise them - are explained in more
           detail below.

       The Court in charge of this Lawsuit has preliminarily approved the Settlement and must
decide whether to give final approval to the Settlement. The relief provided to Settlement Class
Members will beprovided only if the Court gives final approval to the Settlement and, if there
are any appeals, after the appeals are resolved infevor of the Settlement. Please bepatient.




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                                 Basic iNi'ORMATioN- Tins Case

         A class action lawsuit entitled Hartwell v. AmeriCredU Financial Services, Inc. d/b/a CM
Financial. Case No. 1:18-CV-11895-DJC, is pending in the U.S. District Court for theDi.strict of
Massachusetts (the "Lawsuit"). The Lawsuit claims that Defendant violated the Massachusetts
Commercial Code and the Massachusetts Consumer Protection Act by post-repossession notices
that failed to accurately describe Settlement Class Members' liability for deficiency balances, as
required by law. Defendant denies these claims, has asserted numerous defenses to the action,
and denies that class certification is required or appropriate.
       The Court has notdecided who is rightor wrong in this Lawsuit. Although no decision
has been made about who is right and who is wrong, bothsides have agreed to a proposed
Settlement. A Settlement avoids the expense, delay and uncertainty of a trial and gets reliefto
Settlement Class Members more quickly. The Plaintiff and the attomeys for the Settlement Class
think the Settlement is best for all Settlement Class Members.
       The Lawsuit is called a "ClassAction" because the Class Representative is suing on
behalf ofother people with similar claims, called "Class Members." The parties have agreed to
treat the Lawsuit as a Class Action for settlement purposes only.
                        llowDo I Know Ir 1 Am Paii i' OfTmic Sfiti.fmfnt?
        You are a Settlement Class Member if you are or have been an obligor on an account
with respect to which Defendant senta notice identical and/or substantially similar to the
Statutory Notice sent to theClass Representative, Danika Hartwell, between July 19,2014 and
July3I,2018.
      You are also a Member of the Sale Subclass if you are a member of the Settlement Class
and your vehicle was sold, leased, licensed or otherwise disposed of by Defendant after
Defendant repossessed your vehicle. Below in this notice these various types of post-
repossession disposal will simply be referred to as "sold."


                           Tun Sm-LKMENT BFNEim-What Voi) Girr
         If the Settlement is approved by the Court, all Settlement Class Members will receive
certain monetary benefits. If the Settlement is not approved by the Court, Settlement Class
Members will not get any benefits of the Settlement and the parties will go back to Court for
furtlier proceedings, including possibly a trial. The parties have made their best efforts to
negotiate a settlement tliat is fair and reasonable under the circumstances.
         What You Will Get Whether Or Not Defendant Sold Your Car.
      You will be entitled to receive either(a) a statement credit to youraccount or (b) a check.
Whether you receive a statement credit or check, will depend ontwo things: whether your
account reflects a balance owed to Defendant and, if so, whether the balance owed to Defendant
is greater than S150.
         Siatemenl Credit-. If you have a balance on your account with Defendant that is greater
than $150, you will receive a statement credit in the amount ofSISO.
         Check: If you have no account balance (forexample, if (a) you redeemed yourvehicle
after Defendant repossessed it and paid off the entire account b^ance, or (b) you reinstated your

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account and later paid it off), you will be entitled to receive a check for $150. Also, if your
account balance is waived as described below, you will receive payment of $ 150 in addition to
the amount described below.

       Additional Value You Will Receive If Defendant Sold Your Car.
        If Defendant repossessed your vehicle, sent you a notice substantially similar to the one
the Plaintiff alleges in this case was insufficient under applicable law, and then sold orotherwise
disposed of your vehicle without sending you a notice that included the phrase "fair market
value" before doing so, in addition to the value described above, and you will be entitled to
receive both of the two following benefits,
    1. Deficiency Balance Forgiveness: Defendant will forgive theentirety of any deficiency
       amount you owe. In total. Defendant will forgive approximately $8.3 million dollars in
       deficiency balance-s as part of this Settlement; AND
   2. Check: You will also be entitled to receive a check in anamount equal to your
       proportional share of your total possible damages under theMassachusetts Commercial
       Code from a Settlement Fund of$2,359,050. The amount of these checks will vary in
       accordance with the amount you financed from Defendant and the interest and charges
       you agreed to pay. The average check amount for the approximately 2273 Settlement
       Class Members in this Group will be $712.
       You do NOT need to do anything to receive these benefits.
       Named Plaintiff Incentive Payment. The Named Plaintiff will request an incentive
payment of $5,000 for her services as a class representative and her efforts in bringing the
Lawsuit. Ifthe Court approves the request, the incentive payment will be paid by Defendant in
addition to the Settlement Fund.

       Attorneys' Fees. Counsel for the Settlement Class will seek attorneys' fees and costs
from the Settlement Amount ofone-quarter (25 percent) ofthe Settlement Fund, subject to
approval by the Court at the Final Approval Hearing referred to below. Ifthe Court approves the
request, the fees and costs will be paid from theSettlement Fund in the amount of $736,350.
        Uncashed Checks. Any uncashed or unclaimed checks from these settlement payments
will not revert to Defendant. Ifapproved by the Court, the aggregate amount ofany uncashed or
unclaimed checks will be divided equally among two organizations, namely: JumpStart Coalition
for Personal Financial Literacy and National Consumer Law Center, Inc.


       If the Court approves the proposed Settlement, unless you exclude yourself from the
Settlement, you will be releasingyour claims against Defendant. A RELEASE MEANS THAT
YOU WILL NOT BE ABLE TO FILE A LAWSUIT. CONTINUE PROSECUTING A
LAWSUIT. OR BE PART OF ANY OTHER LAWSUIT AGAINST DEFENDANT FOR
CLAIMS RELATED TO INSUFFICIENT OR UNLAWFUL REPOSSESSION AND
DEFICIENCY NOTICES.
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          If you are a member of the Settlement Class, you are included in the Settlement unless
you request to be excluded. Ifyou remain in the Settlement Class and this Settlement is approved
by the Court, you will receive the benefits described above. Ifyou do not want to participate in
the Settlement, you can exclude yourself or"opt out." Ifyou exclude yourself, you will not
receive any benefits from the Settlement, but you will not bebound byany judgment orrelease
in this Lawsuit and will keep your right to sue Defendant on your own if you want. Ifyou
exclude yourself, you may not object to the Settlement.
        To exclude yourself, you must send a written request that contains your original signature
and: (a) the name and case number of the Lawsuit, "Hartwell v. AmeriCredit Financial Services,
Inc. d/b/a GM Financial, Case No. 1:18-CV-11895-DJC"; (b) your full name, address, and
telephone number; (c) your signature and tlie signatures of ail co-borrowers on your account with
Defendant; and (c) a statement that you, and every co-borrower on the account, does not wish to
participate in the Settlement, po.stmarked no later than [Month Day, Year] to the Settlement
Administrator at:

                                    Optime Administration LLC
                                            P.O. Box 3206
                                        Brockton, MA 02304

An opt out form is included at the end of this Notice.
IF YOU DO NOT MAKE A TIMELY AND VALID REQUEST FOR EXCLUSION
ACCORDING TO THE PROCEDURES DESCRIBED HEREIN, YOU WILL REMAIN A
SETTLEMENT CLASS MEMBER AND BE BOUND BY THE SETTLEMENT.
                           Your Ruarrs - Objeo r To The Setti.emen i
          Ifyou do not request to be excluded, you may object to the Settlement. You may not do
both. You may object in writing before the Final Approval Hearing.

       To object in writing, send a letter saying that you object to "Hartwell v. AmeriCredit
Financial Services, Inc. d/b/a CM Financial. Case No. 1:18-CV-11895-DJC" to theSettlement
Administrator at:

                                    Optime Administration LLC
                                           P.O. Box 3206
                                        Brockton, MA 02304
         Be sure to include your name, address, telephone number, your signature, and the reasons
you object to the settlement. Mail the objection to the Settlement Administrator so that it is
postmarked by [Month] [Day], 2019.
IF YOU DO NOT TIMELY MAKE YOUR OBJECTION IN WRITING ACCORDING
TO THE PROCEDURES DESCRIBED HEREIN. VOIl WILL BE DF.F.MED TO HAVE
WAIVED ALL OBJECTIONS TO THE SETTLEMENT


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        The Court will hold a hearing on          in Courtroom     at the United States District
 Court for the District of Massachusetts, located at 1Courthouse Way, Boston, MA 02210, to
 decide whether to give final approval to the Settlement. The purpose ofthe Final Approval
 Hearing will be for the Court to determine whether the Settlement is fair, reasonable, adequate,
 and in the best interests of the Class; to consider the award ofattorneys' fees and costs to Class
 Counsel; to consider the request for an incentive payment to the Plaintiff; and to consider
 whether the Settlement Class Members should be bound by the Release and be prohibited from
suing over Released Claims.
        Please contact the Settlement Administrator orclass counsel for any updates about the
 Settlement generally or the Final Approval Hearing specifically. At that healing, the Court will
 hear any Objections and arguments concerning the faimess of the Settlement. You may attend,
 but you do not have to.


        Ifyou have questions or would like more information, you may contact the Settlement
 Administrator at the postal mailing address: c/o ADMfN, or call toll-free at 1-844-625-7313.
        You may also contact Class Counsel at the phone number and/or address listed below,
 Please beadvised that Defendant and/or Defendant's Counsel carmot comment orotherwise
provide any advice with respect to this Notice or the Settlement.

       Any opt-out forms or objections should be sent to the Settlement Administrator, not to
the Court. Any questions should bedirected either to the Settlement Administrator orto Class
Counsel, not to the Court.

           Please do not contact the Judge concerning this case.

     What IfMyAddues.s Or OniiiRiNFOunLATioN HasChanged Or Changes After 1
                                       Reoeivf. Mv Notice?

       It is your responsibility to inform the Settlement Administrator ofyour updated
information so that acheck may be sent to you ifthe settlement is approved. You may do so at
the address below:

                                    Optime Administration LLC
                                           P.O. Box 3206
                                       Brockton, MA 02304

                                      iMPORTANi Addresses

                                          Class Counsel:

                                Law Office of Nicholas F. Ortiz, P.C
                                    99 High Street, Suite 304
                                        Boston, MA 02110
                                         T: (617) 338-9400
                                     attomey@mass-Iegal.com



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                                     Charles A. Ognibene
                                        Michael Grant
                                     LeClairRyan PLLC
                                  60 State Street, 23'" Floor
                                      Boston, MA 02109


                                    Class Administrator;

                                 Optime Administration LLC
                                        P.O. Box 3206
                                     Brockton, MA 02304
                                   toU-free: (844) 625-7313

                                            Court:

                 United States District Court for the District of Massachusetts
                                       1 Courthouse Way
                                      Boston, MA 02210

                                      iMPOR i'AN r Da i ICS



                            All OPT OUTS/REQUESTS FOR EXCLUSION must be
                            postmarked and mailed to the Settlement Administrator.

xxxxxxxx                    ANY WRITTEN OBJECTIONS must be postmarked and mailed
                            to the Settlement Administrator.

XXXXXXX, at      :          FINAL APPROVAL HEARING.



Dated: XXX XX, 2019




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 Optime Administration LLC
 P.O. Box 3206, Brockton. MA 02304                                        Must be Post-Marked By: DATE
                 Hartwellv. AmeriCredit FinancialServices, Inc. d/b/a GMFinancial

                                         Case No. 1:18-CV-11895.DJC

                                    (U.S.D.C., D. Massachusetts at Boston)
                                                OPT OUT FORM

          1wish to exclude myself from the Settlement inHartwell v. AmeriCredit Financial
 Services, Inc. d/b/a GM Financial. Case No. 1:18-CV-11895-DJC. Ifthere are co-borrowers on
 my account, all have signed this form and also wish to be excluded from this Settlement.
 ORIGINAL SIGNATURE;                                                         Date (mm/dd/yy):
 Print fiill name:

Address:

                                                    State:            Zip Code:
Telephone number:



Complete this portion ofthe form ifthere are co-borrowers on your account:
Co-borrower (I) full name:
Co-borrower (1) signature:
Co-borrower (2) full name:
Co-borrower (2) signature:

                                        Return fiillycompleted form to:

                                          Optime Administration LLC
                                    P.O. Box 3206, Brockton, MA 02304
Is this address dificrcn! than the one in the Notice you received?: Yes      No




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                                       Exhibit C
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


DANIKA HARTWELL,
 Individually and on behalfof a class                       C. A. NO. 2:I5-cv-00517-TSZ
 of persons similarly situated,

        Plaintiff,

V.



AMERICREDIT FINANCIAL SERVICES,
INC. d/b/a GM FINANCIAL.

       Defendant.



                        fPROPOSEDl FINAL ORDER APPROVING
                     CLASS ACTION SETTLEMENT AND JUDGMENT

       PlaintiffDanika Hartwell ("Plaintiff or "Class Representative"), through her counsel,
has submitted to the Court aMotion for Final Approval ofSettlement Agreement which seeks
final approval ofthe parties' Settlement Agreement (the "Final Approval Motion"). Class
Counsel also previously submitted their Motion for an Order Awarding Attorneys' Fees, Costs,
and Incentive Award. Dkt. No.      .

       This Court preliminarily approved the Settlement Agreement by a Preliminary Approval
Order dated            , 2019. Notice was sent to all members ofthe Settlement Class pursuant
to the terms ofthe Preliminary Approval Order and Settlement Agreement.
       This Court has reviewed the papers filed in support ofthe Final Approval Motion and
Motion for Attorneys' Fees, Costs, and Incentive Award, including the Settlement Agreement
and the exhibits thereto, memoranda and arguments submitted on behalfofthe Settlement Class,
and supporting affidavits. The Court held a hearing on         , 2019, atwhich time the parties
and all other interested persons were heard in support ofthe proposed Settlement.

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        Based on the papers filed with the Court and the presentations made to the Court by the
parties and by other interested persons atthe hearing, it appears to the Court that the Settlement
Agreement isfair, adequate, and reasonable, and in the best interests of the Settlement Class.
Accordingly,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

        1.      This Final Order Approving Class Action Settlement and Judgment ofDismissal
("Final Approval Order") incorporates by reference all definitions contained in the Settlement
Agreement, and all terms used herein and not otherwise defined shall have the respective
meanings ascribed to them in the Settlement Agreement The Settlement Agreement shall be
deemed incorporated herein by this reference.

        2.     The Court has jurisdiction over the subject matter ofthis Lawsuit and over the
parties to this Lawsuit, including all Settlement Class Members for purposes ofthis Lawsuit.
        3.     Pursuant to Rule 23(b)(3) ofthe Federal Rules ofCivil Procedure, the Court
certifies the following class (the "Settlement Class"):

               All accounts subject to a RISC with respect to which GMF sent a
               notice identical and/or substantially similar to the Representative's
               Statutory Notice attached as Exhibit Ato the Amended Complaint
               [Dkt. 16], at any time during the Class Period, excluding: (i) any
               account that includes within the applicable RISC, a provision
               requiring either party to submit to binding non-class arbitration, (ii)
               any account an obligor of which received a discharge in
               Bankruptcy after the date he or she received such anotice, and (iii)
               any account where GMF has previously obtained a binding release
               from all obligors or obtained ajudgment against all obligors.
Additionally, the Court certifies the following subclass ofthe Settlement Class (the "Sale
Subclass");

               All accounts within the Settlement Class where GMF repossessed
               oraccepted voluntary surrender ofthe subject vehicle and then
               sold, leased, licensed or otherwise disposed ofitwithout sending a
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                presaie notice that included the phrase "fair market value" prior to
                such sale or other disposition.

In this Order, the term 'Settlement Class" includes the "Sale Subclass" v/here appropriate.
        4.      For settlement purposes only, this Court finds that the Settlement Class satisfies
the applicable prerequisites for class action treatment under Fed. R. Civ, P. 23, and more
specifically that: (a) the Settlement Class as defined above is so numerous that joinder ofall
members isimpracticable; (b) there are questions oflaw and fact common to the Settlement
Class; (c) the claims ofthe Class Representative are typical ofthe claims ofthe Settlement Class;
(d) the Class Representative will fairly and adequately protect the interests ofthe Settlement
Class; (e) the questions of law orfact common to the members ofthe Settlement Class
predominate over the questions affecting only individual members, and (f) certification ofthe
Settlement Class is superior to other available methods for the fair and efficient adjudication of
the controversy.

        5.     Pursuant to tJie Court's Preliminary Approval Order, the approved Class Notice
was mailed to the Settlement Class. The Court has determined that the Class Norice given to
members ofthe Settlement Class fully and accurately informed members ofthe Settlement Class
ofall material elements ofthe proposed Settlement; constituted valid, due, and sufficient notice
to all members of the Settlement Class; and fully complied with Rule 23(c)(2)(B) ofthe Federal
Rules of Civil Procedure.

       6.      The Court, having considered the relevant papers, including PlaintifTs Final
Approval Motion, and any objections filed by members ofthe Settlement Class, finds that this
Settlement, on the terms and conditions set forth in the SettlementAgreement, is in all respects
feir, reasonable, adequate, and in the best interests ofthe Settlement Class. The Court therefore
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grants final approval totlie Settlement ofthis Litigation in accordance with the terms of the

Settlement Agreement.

        7.     The Court orders the parties to the Settlement Agreement to perform their
obligations thereunder pursuant to the terms ofthe Settlement Agreement.
        8.     TheCourt dismisses the Lawsuit, and all claims and causes of action asserted

therein, on the merits and with prejudice. This dismissal is without costs to any party, except as
specifically provided in the Settlement Agreement.
        9.     This Final Approval Order and Final Judgment ofdismissal with prejudice set
forth herein is binding on all Settlement Class Members.

        10.    Plaintiffand Settlement Class Members are permanently barred and enjoined
from asserting, commencing, prosecuting or continuing any ofthe Released Claims described in
the Settlement Agreement against anyof the Released Parties.

        11.    The Court adjudges that the Class Representative and all Settlement Class
Members shall, to the extent provided in the Settlement Agreement, conclusively be deemed to
have released and discharged the Defendant AmeriCredit Financial Services, Inc. d/b/a GM
Financial ("GMF") and all other Released Persons from any and all ofthe Released Claims as
provided in the Settlement Agreement.

       12.     Without affecting the finality ofthis Final Approval Order in any way, tlie Court
retains jurisdiction over: (a) implementation and enforcement ofthe Settlement Agreement
pursuant to further orders ofthe Court until the Final Judgment contemplated hereby has become
effective and each and every act agreed to be performed by the parties hereto shall have been
performed pursuant to the Settlement Agreement; (b) any other action necessary to conclude this
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 Settlement and to implement the Settlement Agreement; and (c) the enforcement, construction,
 and interpretation of the Settlement Agreement.
         13.    The Plaintiffand Class Counsel have moved for an award ofattorneys' fees and
 costs of            and expenses in the amount of              .Dkt. No.     .The Court finds that
 Class Counsel's requested award ofattorneys' fees, costs and expenses is fair and reasonable,
and the Court approves ofClass Counsel attorneys' fees, costs and expenses in this amount. The
Court directs the Settlement Administrator to disburse this amount to Class Counsel from the
Settlement Fund as provided in the Settlement Agreement.
        14.     The Plaintiffhas moved for an Incentive Award of            . Dkt. No.      The
Court finds that the requested Incentive Award is fair and reasonable, and the Court approves the
Incentive Award in this amount. The Court directs the Settlement Administrator to disburse this
amount to the Plaintiff from the Settieraent Fund as provided in the Settlement Agreement.
        15.    Neither this Final Approval Order nor the Settlement Agreement is an admission
or concession by GMF of any fault, omission, liability, or wrongdoing. This Final Approval
Order is not a finding ofthe validity orinvalidity ofany claims in this action ora determination
ofany wrongdoing by GMF. The final approval ofthe Settlement Agreement does not constitute
any opinion, position, or determination ofthis Court, one way or the other, as to the merits ofthe
claims and defenses of the Settlement Class Members or GMF.

        16.    Settlement Class Members were given an opportunity to object to the Settlement
and to the attorneys' fees petition. There being no objections to either, the Court finds that no
just reason exists for delay in entering this Final Approval Order. Accordingly, the Clerk is
hereby directed forthwith to enter this Final Approval Order.
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       17.    Should the Settlementnot becomeeffective and final in accordance with its terms,

this Final Approval Ordershall be rendered null and void to the extent provided by and in

accordance with the Settlement Agreement and shall be vacated and, in such event, all orders and

releases delivered in connection herewith shall be null and void to the extent provided by and in

accordance with the Settlement Agreement.

       SO ORDERED, on this, the          day of                       , 2019.



                                                  HONORABLE DENISE J. CASPER
                                                  UNITED STATES DISTRICT COURT JUDGE
